70 F.3d 1260
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lynwood Allen BAKER, Plaintiff-Appellant,v.Dudley GREEN, Foreman, B-Unit, Virginia CorrectionalEnterprises;  Sharon Johnson, Supervisor, B-Unit, VirginiaCorrectional Enterprises;  Richard Cox, Superintendent,Virginia Correctional Enterprises, Greensville CorrectionalCenter;  David S. Jones, Director, Virginia CorrectionalEnterprises;  Ellis B. Wright, Warden, GreensvilleCorrectional Center;  Director, Virginia Department OfCorrections, Defendants-Appellees.
    No. 95-6936.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  November 16, 1995.Decided:  December 5, 1995.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-94-730-2)
      Lynwood Allen Baker, Appellant Pro Se.  Susan Campbell Alexander, Assistant Attorney General, Richmond, VA, for Appellees.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Baker v. Green, No. CA-94-730-2 (E.D.Va. May 12, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    